Case 1:19-cv-01642-JFB-CJB Document 555 Filed 06/13/22 Page 1 of 8 PageID #: 45275




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

   SYSMEX CORPORATION; and SYSMEX
   AMERICA, INC.,

                      Plaintiffs,                       CIVIL ACTION NO. 19-1642-JFB-CJB

       v.
                                                            MEMORANDUM AND ORDER
   BECKMAN COULTER, INC.,

                      Defendant.



            This matter is before the Court on the Report and Recommendation of the

  magistrate judge. D.I. 515. The Report and Recommendation recommends denial of

  Beckman Coulter Inc.’s (BCI’s) motion for summary judgment for noninfringement. D.I.

  412. BCI has objected to the report and recommendation. D.I. 521. For the reasons set

  forth herein, the Court adopts the magistrate judge’s recommendations in full, overrules

  BCI’s objections, and denies BCI’s motion for summary judgment of noninfringement.

  I.              STANDARD OF REVIEW

            A district court may modify or set aside any part of a magistrate judge’s order that

  is “clearly erroneous or contrary to law.” 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P. 72(a).

  The district court “shall make a de novo determination of those portions of the report or

  specified proposed findings or recommendations to which objection is made” and “may

  accept, reject, or modify, in whole or in part, the findings or recommendations made by

  the magistrate judge.” 28 U.S.C. § 636(b)(1)(C); see also Fed. R. Civ. P. 72(b).

            The Supreme Court has construed the statutory grant of authority conferred on

  magistrate judges under 28 U.S.C. § 636 to mean that nondispositive pretrial matters are



                                                 1
Case 1:19-cv-01642-JFB-CJB Document 555 Filed 06/13/22 Page 2 of 8 PageID #: 45276




  governed by § 636(b)(1)(A) and dispositive matters are covered by § 636(b)(1)(B).

  Gomez v. United States, 490 U.S. 858, 873–74 (1989); see also Fed. R. Civ. P. 72(a).

  Under subparagraph (b)(1)(B), a district court may refer a dispositive motion to a

  magistrate judge “to conduct hearings, including evidentiary hearings, and to submit to a

  judge of the court proposed findings of fact and recommendations for the disposition.” 28

  U.S.C. § 636(b)(1)(B); see EEOC v. City of Long Branch, 866 F.3d 93, 99–100 (3d Cir.

  2017). The product of a magistrate judge, following a referral of a dispositive matter, is

  often called a “report and recommendation” (“R&R”). See Long Branch, 866 F.3d at 99–

  100. “Parties ‘may serve and file specific written objections to the proposed findings and

  recommendations . . . .’” Id. at 99 (quoting Fed. R. Civ. P. 72(b)(2)).

         “If a party objects timely to a magistrate judge’s report and recommendation, the

  district court must ‘make a de novo determination of those portions of the report or

  specified proposed findings or recommendations to which objection is made.’”           Id.

  (quoting 28 U.S.C. § 636(b)(1)).

  II.    BACKGROUND

         Sysmex Corporation and Sysmex America, Inc. (jointly, “Sysmex”) are the

  assignees of the asserted patents, the ’350 and ’351 patents. D.I. 1 at 2. The asserted

  patents describe “sample analyzers having a plurality of detectors for sensing blood

  samples or body-fluid samples, including at least one multi-mode detector that can

  operate in both the blood measuring mode and the body fluid measuring mode.” Id. at 3.

  Sysmex brought suit against BCI for patent infringement. D.I. 1. BCI sells the DxH

  products, a line of high-volume hematology analyzers consisting of a specimen

  processing module and a system manager. D.I. 413 at 10.



                                               2
Case 1:19-cv-01642-JFB-CJB Document 555 Filed 06/13/22 Page 3 of 8 PageID #: 45277




         BCI   moved       for   summary   judgment,   setting   forth   four   arguments   for

  noninfringement. D.I. 412. First, BCI argued it had not infringed the claimed “controller”

  recited in every asserted claim. D.I. 413 at 4–5. Second, BCI argued it had not infringed

  the “multi-mode detectors configured to operate in both the blood measuring mode and

  the body fluid measuring mode” recited in independent claims 1, 12, and 19 of the ’350

  patent and independent claims 1, 16, and 24 of the ’351 patent. D.I. 413 at 12. Third,

  BCI argued it was entitled to summary judgment of noninfringement with respect to the

  limitation that the asserted patents calculate and display the number of “poly-nucleated

  cells” in given sample. D.I. 413 at 14. Lastly, BCI sought summary judgment of no liability

  with respect to products sold prior to the issuance of the patents, called the “installed

  base.” D.I. 413 at 16.

         Magistrate Judge Burke issued an R&R denying BCI’s motion for summary

  judgment of noninfringement. D.I. 515.

  III.   ANALYSIS

         A. Applicable Law

         The determination of infringement entails two steps: “first, the court construes the

  asserted claims as a matter of law to determine their meaning, and second, the trier of

  fact compares the properly construed claims to the accused product to determine whether

  it contains each limitation of the claims, either literally or under the doctrine of

  equivalents.” Ferguson Beauregard/Logic Controls, Div. of Dover Resources, Inc. v.

  Mega Sys., LLC, 350 F.3d 1327, 1338 (Fed. Cir. 2003). The infringement inquiry remains

  focused at all times on the claim language, as illuminated by the written description and

  the prosecution history. Id. at 1345–46.



                                               3
Case 1:19-cv-01642-JFB-CJB Document 555 Filed 06/13/22 Page 4 of 8 PageID #: 45278




         “To establish literal infringement, every limitation set forth in a claim must be found

  in an accused product, exactly.” Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d 1570,

  1575 (Fed. Cir. 1995) (citing Becton Dickinson & Co. v. C.R. Bard, Inc., 922 F.2d 792,

  796, (Fed. Cir. 1990). “Under the doctrine of equivalents, ‘a product or process that does

  not literally infringe upon the express terms of a patent claim may nonetheless be found

  to infringe if there is “equivalence” between the elements of the accused product or

  process and the claimed elements of the patented invention.’” Bondyopadhyay v. United

  States, 136 Fed. Cl. 114, 122–23, aff’d, 748 F. App’x 301 (Fed. Cir. 2018) (quoting

  Warner–Jenkinson Co., Inc. v. Hilton Davis Chem. Co., 520 U.S. 17, 21, (1997)). “[T]o

  establish infringement under the doctrine of equivalents, the accused device must be

  shown to include an equivalent for each literally absent claim limitation.” Dawn Equip.

  Co. v. Ky. Farms Inc., 140 F.3d 1009, 1015 (Fed. Cir. 1998).

         B. Summary Judgment of Noninfringement

         Magistrate Judge Burke recommended denial of each of BCI’s four asserted bases

  for summary judgment of noninfringement. D.I. 515. BCI has objected to each of the

  magistrate judge’s recommendations. D.I. 521. The Court addresses these arguments

  in turn.

                1. The Claimed “Controller”

         BCI argued it should be granted summary judgment of noninfringement as to the

  claimed “controller” recited in every asserted claim. D.I. 413 at 4–5. Magistrate Judge

  Burke recommended BCI’s claim be denied because there is conflicting evidence as to

  whether the “system manager” in the accused devices infringes the “controller” of the

  asserted claims, either literally or under the doctrine of equivalents. D.I. 515 at 5–15. BCI



                                                4
Case 1:19-cv-01642-JFB-CJB Document 555 Filed 06/13/22 Page 5 of 8 PageID #: 45279




  objects, arguing the controller excludes a general-purpose computer, and the accused

  devices employ only a general-purpose computer. D.I. 521 at 6–10.

          Magistrate Judge Burke correctly concluded that a question of fact as to whether

  the accused devices’ “system manager” infringes the “controller” either literally or under

  the doctrine of equivalents precludes summary judgment. 1 D.I. 515 at 9. Specifically,

  Sysmex produced evidence that the system manager of the accused devices is more

  than a general-purpose computer and in fact meets the definition of the “controller.” D.I.

  515 at 8-9 (citing D.I. 427 at 28–31). Accordingly, summary judgment is inappropriate on

  this claim.

                  2. Multi-Mode Detectors

          BCI’s second basis for summary judgment was that it had not infringed the “multi-

  mode detectors configured to operate in both the blood measuring mode and the body

  fluid measuring mode” recited in independent claims 1, 12, and 19 of the ’350 patent and

  independent claims 1, 16, and 24 of the ’351 patent. D.I. 413 at 12. It argued that the

  multi-mode detectors must have two separate configurations (one for blood measuring

  and one for body-fluid measuring), whereas the accused products have only one

  configuration for both modes. D.I. 413 at 13–14. The magistrate judge determined that

  the multi-mode detector did not require multiple configurations, but just detectors that

  operate in both modes. D.I. 515 at 16–17. BCI objects, arguing the magistrate judge

  misreads the plain claim language. D.I. 512 at 9–10.




  1
   BCI also makes several arguments based on the construction of the term “controller.” See, e.g., D.I. 521
  at 5–9. The Magistrate Judge correctly concluded these arguments had already been resolved at the claim-
  construction stage or were otherwise rendered meritless by the Court’s claim construction. D.I. 515 at 5–
  8.

                                                     5
Case 1:19-cv-01642-JFB-CJB Document 555 Filed 06/13/22 Page 6 of 8 PageID #: 45280




        Magistrate Judge Burke was correct to deny summary judgment on this basis and

  did not misread the claim language in doing so. In particular, the plain language of the

  asserted claims does not mandate separate configurations as BCI claims. Additionally,

  there is a dispute of fact as to whether the accused products include detectors that

  operate in both modes which also precludes summary judgment. See D.I. 515 at 17–18

  (citing D.I. 416). This portion of BCI’s motion must be denied.

               3. Poly-Nucleated Cells

        Third, BCI argued it was entitled to summary judgment of noninfringement with

  respect to the limitation that the asserted patents calculate and display the number of

  “poly-nucleated cells” in given sample. D.I. 413 at 14.

        The Court previously construed “poly-nucleated cells” to mean “cells with two or

  more nuclei,” rejecting BCI’s proposed construction which would have limited “poly-

  nucleated cells” to three types of white blood cells: neutrophils, eosinophils, and

  basophils. D.I. 515 at 18 (citing D.I. 230 at 28); see also D.I. 493 at 7–8 (adopting the

  magistrate   judge’s   claim   construction).    The      accused   products   count   only

  “polymorphonuclear” cells. D.I. 515 at 18–19 (citing D.I. 513 at 15). Polymorphonuclear

  cells have two or more nuclei segments or lobes, and neutrophils, eosinophils, and

  basophils are examples of polymorphonuclear cells. D.I. 515 at 19 (citing D.I. 513 at 15).

  The Court rejected BCI’s argument that poly-nucleated cells cannot encompass

  polymorphonuclear cells like neutrophils, eosinophils, and basophils. D.I. 515 at 19. The

  magistrate judge noted that BCI’s position was contrary to its argument during claim

  construction and inconsistent with the ultimate construction given to the term “poly-

  nucleated cells.” D.I. 515 at 19–20. BCI objects. D.I. 521 at 11.



                                              6
Case 1:19-cv-01642-JFB-CJB Document 555 Filed 06/13/22 Page 7 of 8 PageID #: 45281




         The magistrate judge correctly recommended denying this portion of BCI’s

  summary-judgment motion. Given the Court’s settled construction of “poly-nucleated”

  cells, BCI’s arguments are without merit. To the extent BCI argues the accused products

  do not count and display cells including neutrophils, eosinophils, and basophils, this

  presents a question of fact which renders summary judgment inappropriate.

                4. Installed Base

         Lastly, BCI sought summary judgment of no liability with respect to products sold

  prior to the issuance of the patents, called the “installed base.” D.I. 413 at 16. Sysmex

  argued that BCI could still be liable for the installed base because its activities after the

  patent-issuance date (such as providing training instructions and instruction manuals to

  customers) induced its customers to infringe the asserted patents. D.I. 515 at 21–22

  (citing D.I. 427 at 38). The magistrate judge agreed. D.I. 515 at 22–24. BCI objects,

  arguing that if the initial sale of its product was free from infringement liability, any

  subsequent action cannot confer such liability. D.I. 521 at 12.

         Questions of fact preclude summary judgment on the question of BCI’s liability for

  induced infringement of the installed base. As noted in the report and recommendation,

  that relevant inquiry for the factfinder will be whether BCI’s customers used the patented

  technology after the date of patent issuance and, if so, whether BCI knowingly induced

  those customers to undertake the infringing actions. D.I. 515 at 24. Accordingly, disputed

  facts preclude summary judgment on the question of BCI’s liability for induced

  infringement for the installed base.




                                               7
Case 1:19-cv-01642-JFB-CJB Document 555 Filed 06/13/22 Page 8 of 8 PageID #: 45282




  IV.   CONCLUSION

        After carefully reviewing the R&R, the Court finds the magistrate judge is correct

  in all respects and adopts the report and recommendation, D.I. 515, in its entirety.

        THEREFORE, IT IS ORDERED:

        1. Defendant’s objection, D.I. 521, is overruled;

        2. The Court adopts the magistrate judge’s report and recommendation, D.I. 515,

            in its entirety; and

        3. BCI’s motion for summary judgment of noninfringement, D.I. 412, is denied.

        Dated this 10th day of June, 2022.

                                                  BY THE COURT:

                                                  s/ Joseph F. Bataillon
                                                  Senior United States District Judge




                                              8
